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                       COVENANT NOT TO EXECUTE
                       AND ASSIGNMENT OF RIGHTS


This Covenant Not to Execute and Assignment of Rights (“Agreement”) is made
effective on March 19, 2024, by and between John Wedde and Courtney Wedde,
as Wrongful Death Claimants and Parents of Elliott Mason Wedde, Deceased, and
John Walter Ray Wedde, as Personal Representative of the Estate of Elliott Wedde
(collectively, “Wedde Family”) Nathan Thomas Sheets, Kenneth Glen Sheets and
Angela Sheets (individually, by their given name, collectively “Sheets Family”);
and State Farm Mutual Automobile Insurance Company (“State Farm”). Each is
sometimes referred to as a“Party” and collectively as “Parties.”

                                   RECITALS


WHEREAS, pending in State Court of Henry County, Georgia, is acase styled
John Wedde and Courtney Wedde, as Wrongful Death Claimants and Parents of
Elliott Mason Wedde, Deceased, and John Walter Ray Wedde, as Personal
Representative of the Estate of Elliott Wedde v. Nathan Thomas Sheets, Kenneth
Glen Sheets and Angela Sheets, Civil Action File STSV2022001656 (“Lawsuit”);
and


WHEREA, the Lawsuit arises out of atragic automobile accident that took place
on March 26, 2022, and that resulted in the death of Elliot Mason Wedde; and

WHEREAS, to protect themselves from legal liability like that posed against them
in the Lawsuit, Kenneth and Angela Sheets purchased from Central Mutual
Insurance Company an automobile liability insurance policy, no. FMA 3627637,
effective on March 26, 2022, with liability limits of $250,000 per person (the
company is referred to as “Central Mutual” and the policy as the “Central Mutual
Policy”); and

WHEREAS, to further protect themselves from legal liability like that posed in the
Lawsuit, Nathan and Kenneth Sheets purchased from State Farm an automobile
liability insurance policy, no. 11-32C4-55K, effective on March 26, 2022, with
liability limits of $500,000 per person (“State Farm Policy”); and

WHEREAS, the Sheets Family timely paid all premiums for and complied with all
terms and provisions of the Central Mutual Policy and the State Farm Policy; and


                                     EXHIBIT
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WHEREAS, the Sheets Family provided notice of the Lawsuit to Central Mutual
and State Farm; and

WHEREAS, State Farm did the right thing and in compliance with its duties under
the State Farm Policy, retained attorneys to defend the Lawsuit; and

WHEREAS, Central Mutual denied all coverage and refused to defend the
Lawsuit; and

WHEREAS, the Wedde Family provided to Central Mutual opportunities to settle
the Lawsuit in exchange for arelease that would have protected Kenneth and
Angela Sheets’ personal assets from any judgment that might be entered in the
Lawsuit; and

WHEREAS, because there is asubstantial risk of ajudgment in the Lawsuit vastly
in excess of the State Farm limits, because Kenneth and Angela Sheets’ personal
assets are not protected by the release they would have received had Central
Mutual accepted the Wedde Family’s settlement offer, Kenneth and Angela Sheets
are in aprecarious state of doubt and fear; and

WHEREAS, the Sheets Family are saddened by the tragedy giving rise to the
Lawsuit and greatly wish to avoid lengthy litigation requiring them to constantly
remember and relive the tragedy; and

WHEREAS, Kenneth and Angela Sheets wish to protect their son, Nathan, from a
large judgment; and

WHEREAS, State Farm wishes to pay its liability limits to the Wedde Family and
stop incurring the expense of defending the Lawsuit; and

WHEREAS, the parties entered into arms-length settlement discussions to avoid
the further costs and uncertainties of litigation and to each protect their own
interests lawfully and in good faith.

NOW, THEREFORE, for and in consideration of the mutual covenants in this
Agreement, and for good and valuable consideration, the receipt and suf ciency of
which is hereby acknowledged, the parties agree as follows:

1.     R E C I TA L S




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The recitals set forth above are true and correct and made apart of this Agreement.

2.   WITHDRAWAL          OF    ANSWER


Promptly following the effective date of this Agreement, each member of the
 Sheets Family shall withdraw all answers in the Lawsuit and allow default
judgment to be entered against them.

3 . D E T E R M I N AT I O N O F D A M A G E S


The Parties shall retain Judge Gino Brogdon, Sr., aneutral working for Henning
Mediation and Arbitration Services, to perform a“neutral evaluation” pursuant to
the procedures in place at Henning. The Parties shall provide relevant evidence to
Judge Brogdon so that he may, based upon such evidence, his experience and
training, decide upon areasonable valuation of the amount of damages to be
awarded to the Wedde Family in the Lawsuit with respect to the claims against
Kenneth and Angela Sheets only and not the claims against Nathan. This process
is agreed to by the Parties so that it is expressly clear that the amount of the
Judgment to be entered is reasonable and the product of aneutral evaluation and
not the product of any collusion between the Parties. The Sheets Family suggested
that Judge Brogdon undertake this role, but if he is unable to perform the role, the
parties shall diligently and in good faith agree to an alternative neutral.

The Wedde Family and the Sheets Family shall equally bear the fees and expenses
incurred for the neutral evaluation.


The Parties shall use good faith and diligence to see that the neutral evaluation is
promptly initiated and ef ciently concluded.

4.     JUDGMENT


Following the determination of damages by the neutral, such amount shall be made
ajudgment of the court in the Lawsuit (“Judgment”). The Judgment shall be
entered against Kenneth and Angela Sheets only and not Nathan.

5.   PAY M E N T   BY   S TAT E   FARM


Within 15 calendar days of entry of the Judgment, State Farm shall pay $500,000
to the Wedde Family as directed by their attorneys. Upon such payment. State
Farm shall be released from any and all liability to the Wedde Family or the Sheets


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     Family for any claim or cause of action related to the State Farm Policy, including,
     but not limited to the duty to defend or the duty to indemnify, or that was raised or
     that could have been raised in the Lawsuit. The Parties acknowledge and agree
     that such payment by State Farm shall be compensation for the claims against
     Nathan only. The Parties agree to enter into such releases as are reasonably
     necessary to protect the right to recover any uninsured/underinsured motorist
     bene ts to which the Wedde Family is entitled. Upon such payment by State Farm
     and recovery of any uninsured/underinsured motorist bene ts, the claims against
     Nathan in the Lawsuit shall be dismissed with prejudice.

     6.        ASSIGNMENT          OF   RIGHTS.


     Kenneth and Angela Sheets hereby assign to each member of the Wedde Family all
     rights and bene ts under the Central Mutual Policy and all of their causes of
     action, whether in tort or contract, whether existing now or in the future, against
     Central Mutual to the same extent as if the Wedde Family were insureds under the
     Central Mutual Policy, it being the express intent and agreement of the Parties that
     the Wedde Family shall limit their recovery to whatever they may recover under
     the Central Mutual Policy and from Central Mutual, whether as an assignee or as a
     judgment creditor. The assignment includes, but is not limited to, claims for
     breach of the duty to defend, breach of the duty to indemnify, negligent or bad-
     faith failure to settle, breach of duciary duty, estoppel and waiver.

     7.        COVENANT           NOT   TO   EXECUTE


     Each member of the Wedde Family agrees not to attempt to collect, to collect,
     attempt to execute, or execute the Judgment or conduct post-judgment discovery
     against any member of the Sheets Family. The Wedde Family understands and
     agrees that recovery for any of their claims in the Lawsuit will be from the
     payment contemplated herein and the claims assigned herein.

     8.         C O O P E R AT I O N


     The Sheets Family shall reasonably cooperate with the Wedde Family in the
     prosecution of any claims assigned in this Agreement, by: (1) appearing at
     deposition and the trial of any subsequent or additional actions involving or arising
     from the Lawsuit and/or the Central Mutual Policy; (2) producing, providing
     access to, and/or executing any necessary authorizations or veri cations related to
     or necessary to receive, documents or information that relate to the Central Mutual
     Policy or the subject matter of the Lawsuit which are discoverable under any of the

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     methods of discovery provided by the Georgia Civil Practice Act or the Federal
     Rules of Civil Procedure.

     9.      G O V E R N I N G L A W A N D E N F O R C E M E N T.


     This Agreement shall be interpreted, enforced and governed under the laws of the
     State of Georgia.

     10.    BINDING      EFFECT


     This Agreement shall be binding upon and inure to the bene t of the Parties and
     their respective heirs, representatives, transferees and assigns.

     11 .   JOINT    DRAFTSMANSHIP


     This Agreement is the product of the joint draftsmanship and arms-length
     negotiations of the parties, and their lawyers, so that no inference shall be had or
     made against any party as to the interpretation of this Agreement.

     12. NO PREVIOUS ASSIGNMENT OF CLAIMS.


     Each of the Parties represents and warrants that such party (i) has not heretofore
     assigned or transferred to any person not aparty to this Agreement any claim being
     assigned by this Agreement, or any part or portion thereof, and (ii) shall defend,
     indemnify, and hold harmless the other Parties to this Agreement from and against
     any claims based on or in connection with arising out of any assignment or transfer
     in breach of the representations and warranties set forth in this section.

     13.    ENTIRE     AGREEMENT         AND     M O D I F I C AT I O N


     This Agreement is the complete and exclusive statement of the entire agreement
     and understanding among all of the Parties with respect to the subject matter
     hereof. No representations, oral or otherwise, express or implied, other than those
     speci cally set forth in this Agreement have been made by any party regarding the
     subject matter of this Agreement. This Agreement supersedes any and all prior
     understandings, agreements or discussions between the Parties. This Agreement
     shall not be waived, terminated, amended or modi ed in any manner except as
     provided herein, or in awriting signed by the party against whom such waiver,
     termination, amendment or modi cation is sought to be enforced.



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     IN WITNESS WHEREOF, the Parties have executed this Agreement as of the day
     and year rst above written.




     Johji^^dde


     Courtney Wedde



     Jo]   t alter Ray Wedde,
     a^Personal Representative
     of the Estate of Elliott Wedde




     Nathan Thomas Sheets




     Kenneth Glen Sheets




     Angela Sheets




     State Farm Mutual Automobile
     Insurance Company

     By
            (print name)

     Its

           (title)



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IN WITNESS WHEREOF, the Parties have executed this Agreement as of the day
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______________________
John Wedde


______________________
Courtney Wedde


______________________
John Walter Ray Wedde,
as Personal Representative
of the Estate of Elliott Wedde


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Nathan Thomas Sheets


______________________
Kenneth Glen Sheets


______________________
Angela Sheets


______________________
State Farm Mutual Automobile
Insurance Company

By_________________
     (print name)

Its__________________
      (title)



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John Wedde


______________________
Courtney Wedde


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John Walter Ray Wedde,
as Personal Representative
of the Estate of Elliott Wedde


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Nathan Thomas Sheets


______________________
Kenneth Glen Sheets


______________________
Angela Sheets


______________________
State Farm Mutual Automobile
Insurance Company

By_________________
     (print name)

Its__________________
      (title)



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Courtney Wedde


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John Walter Ray Wedde,
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of the Estate of Elliott Wedde


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Kenneth Glen Sheets


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Angela Sheets


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State Farm Mutual Automobile
Insurance Company

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     (print name)

Its__________________
      (title)



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understandings, agreements or discussions between the Parties. This Agreement
shall not be waived, terminated, amended or modified in any manner except as
provided herein, or in a writing signed by the party against whom such waiver,
termination, amendment or modification is sought to be enforced.

IN WITNESS WHEREOF, the Parties have executed this Agreement as of the day
and year first above written.


______________________
John Wedde


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Courtney Wedde


______________________
John Walter Ray Wedde,
as Personal Representative
of the Estate of Elliott Wedde


______________________
Nathan Thomas Sheets


______________________
Kenneth Glen Sheets                        ______________________
                                           Ashley L. Yagla, Esq. o/b/o
                                           State Farm Mutual Automobile
______________________                     Insurance Company
Angela Sheets




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